 AO 88B (Rev. Q2/14} Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DIST'RIC~' CC)URT
                                                                           for the
                                                           Eastern I.~istrict of Nevv York

                      STEPHEN EL.LIOTT
                               Plaintiff
                         v.                                                             Civil Action No. 18-cv-05680
       MOIRA DC~N ELAN, and JANE DOES (1-30)

                              Defendant

                        SUBPUENA TO PRUDUCE DOCUMENTS,Il'~TFORl~iATIUN, OR OBJECTS
                          CSR ~'~J PE]~l~I'Y' Il~TSPIE+~'Y'~~liT OF PREli~~IS1ES Il~T A ~~YI.,, ~1~TI~l~t

 To:                                                           Goggle
                   Goggle Building 8510, Attn: Custodian of Records, 85 Tenth Avenue, New York, New York 1 Q011
                                                      (Name ofperson to whom this subpoena is dit~ected)

         Production: YOU ARE COMMANDED to produce at t11e time~ dale~ and place set forth below the follovUing
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material:
          S~ubpoena~d material described in Subpoena Rider, annexed hereto. Appearance Not Required. Notify users
           whose information shall be disclosed and advise them of their rights to move to quash this subpoena.

  Place: N~~enoff ~ Miltenberg, LLP                                                      Date and Time:
         Certified Records may be sent via password encrypted
                                                                                                            04/19/2019 12:00 pm
         email to amiltenberg@r~mllplaw.com

      [~ Inspection ofP~e~nises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached —Rule 45(c), relating to the place of compliance;
Rule 4S(d), relating to your protection as a person subject to a subpoena; and Rule 4S(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                   CLERK OF ~`O URT
                                                                                            ~~.

                                           Sig~ta~tu~e ofClerk or Deputy Cleriz                                       Attorney's signatut~e


The name, address, e-mail address, aid telephone number ofthe attorney representing (name ofparty)
Plaintiff -Stephen ~Iliott                                                                      ,who issues or requests this subpoena, ~.re:
 N~ser~off & Miltenberg, LLP, Andrew Miltenberg, Eq., 363 7th Avenue, 5th FI, NY, NY 10001; E: amiltenberg@nmllplaw

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible thin,~s or the
inspection of premises before trial, a notice and a copy of the subpoena must be served. on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                    RIDER TO SUBPOENA



As per the subpoena, to which this rider is annexed, you are commanded to produce the
following documents, data, electronically stored i~forr~ati~~ Qr objects, regarding a Google
Spreadsheet entitled "~hitt~ Media Men"(hereina~'tex r~fe~-r~d to as "the List") created ors or
about October 11, 2017, b~ Ms. Moira Donegan and others:



    1. Any and all identifying information ~'or individuals who entered information to, and/or
       contributed, edited, input, highlighted or otherwise manipulated entries, words, data
       and/or information pertaining to the cells, rows and columns attributed to Stephen Elliott.
       Identifying information shall include, but not be limited to, email address and/or Gmail
       account name, IP address, IP address history, name, handle, alias and address ofsaid
       individuals.


Further, as per the subpoena, you are comma~.ded to notify any and all individuals whose
information shall be disclosed in response to the subpoena and advise them of their rights to
move to quash the instant subpoena by the return date o~ the subpoena, which is listed therein.
Please note the subpoena for production of documents, electronically stored information or
abjects does not require personal app~aran~e by the individual commanded to produce same. As
per the subpoena, the certified business records maybe produced via ~aassword encrypted email
to amilt~nberg~~nmllplavv.com.
